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         EXHIBIT B
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Dear Chief Executive Officer

Statement of Declination for Offer of Covid-19 Vaccine Product

I, Barbara a living female retain and reserve all of my God given rights
including sole possession and sole use of all my biological materials which are
granted to me by my Creator.

My employer New York City Department of Education has mandated a
Covid-19 vaccination product to be received by me pursuant to and satisfying
their requirements.

I retain the right to decline all attempts to access, influence and or otherwise
alter any and all of my God given biological material and or biological systems
which are unique, flawless and original design and
craftsmanship of my Creator and of which my Creator has granted me sole
possession, proprietorship and use of.

I require that any and all product required by my employee or workplace for
me to receive be both entirely retrievable from and also removable in its
entirety from my body, person and manhood at the conclusion of each and
every work period and or work shift and also again at the completion of my
contracted obligations with my location of employment and or employer.

Pursuant to my above statement, I decline the offer for Covid-19 Vaccine
Product.
By
Barbara Hill

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H.M.H.P REV. RAYMOND OLIVER ANDERSON PRIEST BEFORE THE LORD THY
GOD

Genesis 2:9 Out of the ground the Lord God caused to grow every tree that is
pleasing to the sight and good for food. Revelations 22:2 and the leaves of the
tree were for the healing of the nations. The Covid-19 vaccine is not a
naturally occurring substrate of nature which in its use represents defilement
of ones temple and its mandate therefore encroaches upon ones religious
freedom of choice. Mankind was given authority and rights by God to rule over
the birds of the air, the beasts of the field the fishes of the sea, the earth and
to subdue it. Ones inalienable rights to liberty, religious freedom, and state of
well-being cannot be taken or given away by any man, establishments nor
institutions.

Furthermore Covid-19 vaccines embodies fetal tissue which would be
tantamount to genetic cannibalism which is abhorrent to God and an offense
to my sincere moral ethical religious beliefs.

Let it be known that I, Barbara Hill,and my family members, on this day of,
September 20,2021, I am of sound mind and entitled to freedom from
coercion.
Employer/Institution, Department of Education.
